     Case 3:25-cv-03004-JSC      Document 50   Filed 05/20/25     Page 1 of 2



 1   BERKELEY CITY ATTORNEY’S OFFICE            Kristin A. Linsley (#154148)
     FARIMAH F. BROWN - # 201227                 klinsley@gibsondunn.com
 2   City Attorney                              GIBSON, DUNN & CRUTCHER LLP
     KATRINA L. EILAND - # 275701               One Embarcadero Center #2600
 3
     Deputy City Attorney                       San Francisco, CA 94111-3715
 4   keiland@berkeleyca.gov                     Telephone:     415.393.8200
     STEPHEN A. HYLAS - # 319833                Facsimile:     415.393.8306
 5   Deputy City Attorney
     shylas@berkeleyca.gov                      Jay P. Srinivasan (#181471)
 6   2180 Milvia Street, Fourth Floor             jsrinivasan@gibsondunn.com
                                                Bradley J. Hamburger (#266916)
     Berkeley, CA 94704                           bhamburger@gibsondunn.com
 7
     Telephone: (510) 981-6998                  Samuel Eckman (#308923)
 8   Facsimile: (510) 981-6960                    seckman@gibsondunn.com
                                                Alexander N. Harris (#278482)
 9   Attorneys for Defendants                     aharris@gibsondunn.com
     THE CITY OF BERKELEY,                      GIBSON, DUNN & CRUTCHER LLP
10   CALIFORNIA,                                333 South Grand Ave.
     and PAUL BUDDENHAGEN                       Los Angeles, CA 90071-3197
11                                              Telephone:     213.229.7000
                                                Facsimile:     213.229.7520
12
                                                Attorneys for Plaintiff
13                                              REALPAGE, INC.

14

15                             UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17                                SAN FRANCISCO DIVISION

18   REALPAGE, INC.,                             Case No. 3:25-cv-03004-JSC

19               Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                 JOINT STIPULATION TO EXTEND
20         v.                                    CASE DEADLINES

21   THE CITY OF BERKELEY, CALIFORNIA,
     and PAUL BUDDENHAGEN, CITY
22   MANAGER OF BERKELEY,                        Date Filed: April 2, 2025
     CALIFORNIA, in his official capacity,
23                                               Trial Date: Not Set
                 Defendants.
24

25

26

27

28

                                                 1
            [PROPOSED] ORDER GRANTING JOINT STIPULATION TO EXTEND CASE DEADLINES
                                    Case No. 3:25-cv-03004-JSC
     Case 3:25-cv-03004-JSC          Document 50       Filed 05/20/25                 Page 2 of 2



 1                                          [PROPOSED] ORDER

 2          In light of the parties’ stipulation, the Court hereby GRANTS the request to extend all

 3   deadlines in the case for twenty-one (21) days.

 4          The new deadlines are as follows:

 5      x   6/9/25 – deadline for RealPage’s written response to Berkeley’s first set of requests for

 6          production and to begin rolling production of documents;

 7      x   6/10/25 – deadline for RealPage to substantively respond to Berkeley’s first set of

 8          interrogatories;

 9      x   6/12/25 – deadline for Berkeley’s written response to RealPage’s first set of requests for

10          production and to begin rolling production of documents;

11      x   6/13/25 – deadline for Berkeley to respond to RealPage’s complaint;

12      x   6/13/25 – deadline for Berkeley to substantively respond to RealPage’s first set of

13          interrogatories and requests for admission;

14      x   6/20/25 – deadline for RealPage to file preliminary injunction motion;

15      x   8/8/25 – deadline for Berkeley to file opposition to preliminary injunction motion;

16      x   8/22/25 – deadline for RealPage to file reply;

17      x   8/22/25 – close of preliminary expedited discovery;

18      x   9/11/25 - hearing on RealPage's preliminary injunction.

19

20   PURSUANT TO STIPULATION, IT IS SO ORDERED.                               ISTRIC
                                                                         TES D      TC
21                                                                     TA
                                                                                                                   O
                                                                  S




      DATED: May 20, 2025
                                                                                                                    U
                                                                 ED




22
                                                                                                                     RT


                                                                                                             D
                                                                                  RDERE
                                                             UNIT




                                                          Hon. Jacqueline Scott
                                                                              O OCorley
23                                                                      I S S
                                                                   IT Judge DIFIED
                                                          U.S. District
                                                                           AS MO
                                                                                                                          R NIA




24
                                                                                                                  rley
                                                             NO




25                                                                                         eline S   c ot t C o
                                                                               ge J a c qu
                                                                                                                         FO




                                                                       Jud
                                                              RT




26
                                                                                                                     LI




                                                                      ER
                                                                  H




                                                                                                                    A




27                                                                         N                                        C
                                                                                D IS T IC T                OF
28                                                                                    R

                                                  2
             [PROPOSED] ORDER GRANTING JOINT STIPULATION TO EXTEND CASE DEADLINES
                                     Case No. 3:25-cv-03004-JSC
